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             IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                           Plaintiff,

      Vs.                                       No. 04-40001-02-SAC

FELIPE BEDOLLA-IZAZAGA,

                           Defendant.


                           MEMORANDUM AND ORDER

             The case comes on for sentencing of the defendant following the

jury’s guilty verdict returned March 21, 2005, in which the defendant was convicted

of one count of conspiracy to distribute methamphetamine, three counts of using a

communication facility to facilitate a drug offense, two counts of distributing

methamphetamine, one count of possession with intent to distribute

methamphetamine, and one count of making a building available for the purpose of

using, storing or distributing a controlled substance. The PSR recommends a base

offense of 38 pursuant to U.S.S.G. § 2D1.1(c)(1) on a finding that the offense

involves 1.8 kilograms of actual methamphetamine, a two-level enhancement for

possession of a dangerous weapon pursuant to U.S.S.G. § 2D1.1(b)(1), and a
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four-level enhancement pursuant to U.S.S.G. § 3B1.1(a) on a finding that the

defendant was an organizer or leader in an offense involving five or more

participants. With a total offense level of 43 and a criminal history category of one,

the sentencing table calls for a sentence of life imprisonment.

             The defendant objects to the finding on the amount of the drugs

involved. The defendant challenges the finding as speculative and dependent upon

unreliable approximations made by one witness, Juan Carlos Verducco-Camarena.

The defendant complains that this amount of methamphetamine was neither charged

in the indictment nor found by the jury in its verdict. The defendant asks the court

to sentence him only on the drug amounts charged in the counts of conviction.

The defendant grounds his request on Blakely v. Washington, 124 S. Ct. 2531

(2004), and United States v. Booker, 125 S. Ct. 738 (2005), and his reading of

these decisions that prevents a sentencing court from making findings that increase

the sentencing range beyond the statutory maximum established from the jury’s

findings. The defendant takes aim at the two sentencing enhancements, firearm

possession and organizer or leader, firing the same Sixth Amendment volley.

Finally, the defendant contends the life sentence recommended by the sentencing

guidelines would be unreasonable and unjustified in light of no prior criminal record

and the facts and circumstances of the offense and would constitute an

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unacceptable disparity in sentences received by others convicted of the same or

similar offenses.

             In United States v. Booker, 125 S. Ct. 738, 756, 2005 WL 50108 (Jan.

12, 2005), the Court “reaffirm[ed its] holding in Apprendi: Any fact (other than a

prior conviction) which is necessary to support a sentence exceeding the maximum

authorized by the facts established by a plea of guilty or a jury verdict must be

admitted by the defendant or proved to a jury beyond a reasonable doubt.” Thus,

the Court determined that the mandatory enforcement of the United States

Sentencing Guidelines violates the Sixth Amendment “when judge-found facts, . . .,

are employed to enhance a sentence.” United States v. Gonzalez-Huerta, 403 F.3d

727, 731 (10th Cir. 2005). To keep this unconstitutional scenario from recurring,

the Court severed, in part, the provision of the Sentencing Reform Act (18 U.S.C.

§ 3553(b)(1)) which made the guidelines mandatory. Booker, 125 S. Ct. at 756.

The sentencing guidelines now are “effectively advisory.” 125 S. Ct. at 757. The

Act still “requires a sentencing court to consider Guidelines ranges, see 18

U.S.C.A. § 3553(a)(4) (Supp. 2004), but it permits the court to tailor the sentence

in light of other statutory concerns as well, see 3553(a) (Supp. 2004).” Id. Put

another way, sentencing courts, “while not bound to apply the Guidelines, must

consult those Guidelines and take them into account when sentencing. See 18

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U.S.C.A. §§ 3553(a)(4), (5) (Supp.2004).” Id. at 767.

             The defendant argues that the Sixth Amendment as applied in Booker

requires that his sentence be predicated exclusively on the facts decided by the jury

and reflected in its verdict. This argument requires one to read Booker’s Sixth

Amendment ruling and ignore Booker’s remedial ruling. This is done in the futile

attempt to resuscitate the very Sixth Amendment problem uniquely put to rest by

the Court’s remedial opinion in Booker. Without the provisions that make the

guidelines “mandatory and impose binding requirements on all sentencing

judges–the statute falls outside the scope of Apprendi’s requirement.” 125 S. Ct.

at 764 (quotation marks and citation omitted). “In imposing this remedy, the Court

specifically rejected defense suggestions that the Sixth Amendment holding be

engrafted on the Sentencing Guidelines, or that provisions of the Sentencing

Guidelines allowing judicial factfinding be excised.” United States v. Lynch, 397

F.3d 1270, 1272 (10th Cir. 2005) (citing Booker, 125 S. Ct. at 768-69). That the

defendant was not charged with different drug amounts and sentencing

enhancements and that the jury was not asked to decide these same matters do not

bar this court from engaging in judicial factfinding for the purpose of determining

the advisory guideline sentencing range. The Supreme Court in Booker made it

unmistakably clear that not only its Sixth Amendment ruling but also its remedial

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opinion are to be applied retroactively “to all cases on direct review” or those cases

not yet final. 125 S. Ct. at 769. The defendant’s general Sixth Amendment

objection to the amount of drugs and the other sentencing enhancements is

overruled.

             The court next considers the defendant’s specific objection to the

finding that the offense involved 1.8 kilograms of actual methamphetamine. "When

a defendant objects to a fact in a presentence report, the government must prove

that fact at a sentencing hearing by a preponderance of the evidence." United

States v. Shinault, 147 F.3d 1266, 1278 (10th Cir.) (citing United States v.

Easterling, 921 F.2d 1073, 1078 (10th Cir. 1990), cert. denied, 500 U.S. 937

(1991)), cert. denied, 525 U.S. 988 (1998). Under § 2D1.1, "[t]he Government has

the burden of proving the quantity of drugs by a preponderance of the evidence"

United States v. Gigley, 213 F.3d 509, 518 (10th Cir. 2000), and the "evidence

relied upon must possess a minimum indicia of reliability," United States v. Cruz

Camacho, 137 F.3d 1220, 1225 (10th Cir. 1998). The Sentencing Guidelines

"permit a court to consider all 'relevant conduct' when determining the base offense

level for someone convicted of an offense." United States v. Asch, 207 F.3d 1238,

1243 (10th Cir. 2000) (citations omitted). Under U.S.S.G. § 1B1.3(a)(2), offenses

which are groupable under U.S.S.G. § 3D1.2(d) are part of a defendant's relevant

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conduct if they are part of the same course of conduct or common scheme or plan

as the count of conviction. United States v. Moore, 130 F.3d 1414, 1416 (10th

Cir.1997).

             Paragraph fifty of the PSR summarizes and totals the different

quantities of methamphetamine actually obtained in transactions with the defendant

or his co-conspirators and/or seized during the searches of the residences of the

defendant and his co-conspirators. The defendant lodges no objection to the

accuracy of this calculation and admits this paragraph represents “the total amount

of drugs distributed, not only by the defendant, but also those amounts alleged to

have been distributed by Mariano Bedolla, Eloy Salinas-Rosas and Juan Carlos

Verducco-Camarena.” (Dk. 219, p. 2). From the evidence at trial, the court finds

that the defendant and the conspiracy with which he was charged and convicted

were the sources of the methamphetamine distributed in these controlled purchases

or found at the different residences. The court further finds that these other

transactions and seized drugs constitute relevant conduct in being part of the same

course of conduct or common scheme or plan as the counts of conviction. The

court overrules the defendant’s objection to relying on the 699.58 grams of actual

methamphetamine found in paragraph fifty in calculating the base offense level.

             The court, however, sustains the defendant’s objection to the PSR’s

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finding that the base offense level should be based on Juan Carlos Verducco-

Camarena’s testimony about the number of trips to California and on the number of

buckets of cutting agent found at the different residences. The court recalls the

testimony on the number of California trips and the amount of drugs believed to

have been transported on each trip. The court’s impression of that testimony is

that it lacks the indicia of reliability on which to base a finding of relevant conduct.

The testimony was uncertain and inconsistent on the timing and number of trips to

California, and cross examination successfully revealed weak inferences underlying

the testimony. As for the cutting agent buckets, the evidence at trial did not

persuade the court that each bucket was necessarily linked to the charged

conspiracy. Thus, the court accepts the finding of 699.58 grams of actual

methamphetamine laid out in paragraph fifty as the more accurate determination of

quantity based on the reliable evidence at trial and accordingly reduces the base

offense level from 38 to 36.

              This ruling changes the guideline sentencing range to 324 to 405

months and moots the defendant’s arguments on the unreasonableness of a life

sentence.

              IT IS THEREFORE ORDERED that the defendant’s objection to the

PSR is sustained in part and overruled in part.

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     Dated this 23rd day of June, 2005, Topeka, Kansas.



                        s/ Sam A. Crow
                        Sam A. Crow, U.S. District Senior Judge




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